                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                       )
                                                )
                                                )
 v.                                             )      Case No. 1:07-CR-79
                                                )
 DEWAYNE SMITH                                  )      COLLIER/CARTER


                                             ORDER

        On December 4, 2007, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant Dewayne Smith’s (“Defendant”)

 plea of guilty to Count One of the Indictment, the lesser included offense of conspiracy to distribute

 cocaine base (“crack”), in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(C), in exchange for

 the undertakings made by the government in the written plea agreement; (b) the Court adjudicate

 Defendant guilty of the charges set forth in Count One of the Indictment; (c) that a decision on

 whether to accept the plea agreement be deferred until sentencing; and (d) Defendant shall remain

 in custody pending sentencing in this matter (Doc. 129). Neither party filed an objection within the

 given ten days. After reviewing the record, the Court agrees with the magistrate judge’s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report

 and recommendation (Doc. 129) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to Count One of the Indictment in exchange for the

 undertakings made by the government in the written plea agreement is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

 Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing; and




Case 1:07-cr-00079-TRM-CHS            Document 177         Filed 03/17/08      Page 1 of 2      PageID
                                            #: 163
       (4) Defendant SHALL REMAIN in custody pending sentencing.

       SO ORDERED.

       ENTER:


                                       /s/
                                       CURTIS L. COLLIER
                                       CHIEF UNITED STATES DISTRICT JUDGE




                                          2


Case 1:07-cr-00079-TRM-CHS     Document 177     Filed 03/17/08     Page 2 of 2   PageID
                                     #: 164
